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Ao 2453 (R¢v. 09/17) iudgm¢m in a criminal case |N CF'LED

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Eastem District of New York

 

 

 

 

 

BHOOKL

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UNirEi) sTArEs or AMERicA § JUDGMENT IN A CRIMm/XPEESIE

v. )
Anastasia Diat|ova § Case Number: 12~CR-0626-SJ-06

§ USM Number; 73084-279
) Morris Fodeman 1301 Ave of Americas, NY NY10019
) Defeodant's Attorncy

THE DEFENDANT:

[] pleaded guilty to count(s)

l:l pleaded nolo contendere to count(s)

which was accepted by the court.
El was found guilty on count(s) 1(C)
after a plea of not guilty.
The defendant is adjudicated guilty of these otfenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 371 CONSP|RACY TO CONllVllT WlRE FRAUD 9/28/2012 1(c)
The defendant is sentenced as provided in pages 2 through 6 of this judgment The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

l:l The defendant has been found not guilty on count(s)

m Count(s) ALL OPEN l:l is [Z\' are dismissed on the motion of the United States.

 

_ _ lt is ordered that the defendant_must notify the Un_ited States attorney for this district within 30 da s of _any change of name, residence,
or mailing address until_all fines, restitution,_costs, and special assessments imposed t_)y this judgment are iii y paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

9/14/2017
Date of lmposition of .ludgnent

 

/S/ USD] STERLING ]OHNSON, ]R.
signature fiudE€’\T

 

STERL|NG JOHNSON, JR., U.S.D.J.
Name and Title of.ludge

10/10/2017

Date

 

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AO 2458 (Rev. 09/|7) .ludgm¢¢t in Criminal Case

Sheet 2 - imprisonment

.ludgment _ Page 2 of

DEFENDANT: Anastasia Diatlova
CASE NUMBER: 12-CR-0626-SJ-06

term of:

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total

TlME SERVED.

The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
l] at l] a.m. m p.m. on
lj as notified by the United States Marshal.

 

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l'_'] before 2 p.m. on

 

l:l as notified by the United States Marshal.

[:l as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on to

, with a certified copy of this judgment

 

 

UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL

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Ceise l:lZ_cr-OOGZG-SJ Document 566 Filed 10/12/17 Page 3 of 6 PagelD #: 9100

AO 245B (Rev. 09/17) Jsudgment in a Crirninal Case
eet3 - Supervised Release

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Judgment_l’age § of

°’l

DEFENDANT: Anastasla Diat|ova
CASE NUMBER: 12-CR-0626-SJ-06

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :
Two (2) years.

MANDATORY CONDITIONS

1_ You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereaRer, as determined by the court.
ij The above drug testing condition is suspendcd, based on the court's determination that you
pose a low risk of future substance abuse. (check ifapplicable)
4_ [_”_] You must make restitution in accordance with l8 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution, (check if applicable)

5. l] You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

6 l:l You must comply with the requirements of the Scx Offender Registration and Notification Act (42 U. S. C § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)

7_ l:l You must participate in an approved program for domestic violence. (check !fapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

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AO 2458 (Rev. 09/17) Judgment in a Criminal Case
Shect 3A _ Supervised Release

Judgmcnt-Page 4 of 6

 

DEFENDANT: Anastasia Diat|ova
CASE NUMBER: 12-CR-0626-SJ-06

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation odicer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

ll. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

$/‘:P

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

q

Defendant's Signature Date

 

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AO 2458 (Rev. 09/17) Judgment in a Cn'minal Case
Sheet 5 - Crim.inal Monctary Penalties

Judgment - Page § of 6
DEFENDANT: Anastasia Diatlova
CASE NUMBER: 12-CR-0626-SJ-06

CRIMINAL MONE'I`ARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment ' JVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ $ $

l:l The determination of restitution is deferred until . An Amena'ed Judgment in a Criminal Case (A0245C) will be entered
after such determination

[:] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa ee shall receive an approximatel rogortioned ayment, unless specified otherwise in
the priority or_der or percentage payment column elow. However, pursuant to 18 S. . § 3664§ , all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priori§y or Percentage
TOTALS $ 0.00 $ 0.00

ij Restitution amount ordered pursuant to plea agreement $

E] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
l:l the interest requirement is waived for the l:l fine |'_'] restitution,

ij the interest requirement for the l:l fine lIl restitution is modified as follows:

* Justice for Victims of Traffickin Act of 2015, Pub. L. No. l 14-22. _ _
** Findings for the total amount 0 losses are required under Chapters 109A, 1 10, 1 10A, and l 13A of Title 18 for offenses committed on or

after September 13, 1994, but before April 23, 1996.

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Case 4:18-Cr-OO472 Document 1-1 Fi|_ed in TXSD on 08/20/18 Page 6 of 6
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Sheet 6 _ Schedule of Payments

Judgment - Page 6 of
DEFENDANT: Anastasia Diatlova
CASE NUMBER: 12-CR-0626-SJ-06

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A § Lump sum payment of S 100-00 due immediately, balance due
[] not later than , or

[:] in accordance with [] C, [| D, C| E,or l:] Fbelow; or

B |:I Payment to begin immediately (may be combined with l:l C, l:l D, or l:l F below); or

C l:l Payment in equal (e.g., weekly, monrhly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D [:l Payment in equal (e.g., weekly, monihly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) afier release from imprisonment to a
term of supervision; or

E [] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F [] Special instructions regarding the payment of criminal monetary penalties:

Unless _the cou_rt ha_s expressly ordered otherwise, if this judgment imposes imprisonment, pa ent of criminal monetary penalties is due during
the period of imprisonment All cnrmnal monetary penalties, except those payments ma e through the Federal Bureau of Prisons' lnmate

Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C] Joint and Several

Defendant and Co-Dei`endant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

l`_`l The defendant shall pay the cost of prosecution.

13

The defendant shall pay the following court cost(s):

l:] The defendant shall forfeit the defendant‘s interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine

interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

